            Case 14-61109-lrc                  Doc 75            Filed 02/01/18 Entered 02/01/18 15:39:11                     Desc Ch 13
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Information to identify the case:
Debtor 1                  Shahriar Govahi−Kashani                                            Social Security number or ITIN   xxx−xx−7295

                          First Name   Middle Name   Last Name                               EIN    _ _−_ _ _ _ _ _ _
Debtor 2                                                                                     Social Security number or ITIN _ _ _ _
(Spouse, if filing)       First Name   Middle Name   Last Name
                                                                                             EIN    _ _−_ _ _ _ _ _ _

United States Bankruptcy Court Northern District of Georgia


Case number: 14−61109−lrc




Order of Discharge                                                                                                                          12/15


IT IS ORDERED: A discharge under 11 U.S.C. § 1328(a) is granted to:
                 Shahriar Govahi−Kashani

IT IS FURTHER ORDERED THAT:

Any employer of the debtor(s) against which a Chapter 13 Employee Deduction Order is in effect shall cease
immediately withholding from the wages, salary, commissions, or other earnings or income of the debtor any monies on
account of the Chapter 13 case.

The Attorney for the debtor(s) shall serve a copy of this order upon any employer of the debtor who is subject to an
Employee Deduction Order.
                 2/1/18                                                             By the court:



                                                                                                        Lisa Ritchey Craig
                                                                                                        United States Bankruptcy Judge



Explanation of Bankruptcy Discharge in a Chapter 13 Case
This order does not close or dismiss the case.                                       Most debts are discharged
                                                                                     Most debts are covered by the discharge, but not all.
                                                                                     Generally, a discharge removes the debtors' personal
Creditors cannot collect discharged debts                                            liability for debts provided for by the chapter 13 plan.
This order means that no one may make any                                            In a case involving community property: Special rules
attempt to collect a discharged debt from the                                        protect certain community property owned by the debtor's
debtors personally. For example, creditors cannot                                    spouse, even if that spouse did not file a bankruptcy case.
sue, garnish wages, assert a deficiency, or
otherwise try to collect from the debtors personally                                 Some debts are not discharged
on discharged debts. Creditors cannot contact the                                    Examples of debts that are not discharged are:
debtors by mail, phone, or otherwise in any attempt
to collect the debt personally. Creditors who violate                                      ♦ debts that are domestic support obligations;
this order can be required to pay debtors damages
and attorney's fees.
                                                                                           ♦ debts for most student loans;
However, a creditor with a lien may enforce a claim
against the debtors' property subject to that lien
unless the lien was avoided or eliminated. For                                             ♦ debts for certain types of taxes specified in 11
example, a creditor may have the right to foreclose a                                        U.S.C. §§ 507(a)(8)( C), 523(a)(1)(B), or
home mortgage or repossess an automobile.                                                    523(a)(1)(C) to the extent not paid in full under the
                                                                                             plan;
This order does not prevent debtors from paying any
debt voluntarily. 11 U.S.C. § 524(f).
                                                                                                   For more information, see page 2



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    ♦ debts that the bankruptcy court has decided                   ♦ debts for restitution, or damages,
      or will decide are not discharged in this                       awarded in a civil action against the
      bankruptcy case;                                                debtor as a result of malicious or willful
                                                                      injury by the debtor that caused personal
                                                                      injury to an individual or the death of an
    ♦ debts for most fines, penalties, forfeitures,                   individual; and
      or criminal restitution obligations;

                                                                    ♦ debts for death or personal injury caused
    ♦ some debts which the debtors did not                            by operating a vehicle while intoxicated.
      properly list;

                                                              In addition, this discharge does not stop
    ♦ debts provided for under 11 U.S.C. §                    creditors from collecting from anyone else who is
      1322(b)(5) and on which the last payment or             also liable on the debt, such as an insurance
      other transfer is due after the date on which           company or a person who cosigned or
      the final payment under the plan was due;               guaranteed a loan.

    ♦ debts for certain consumer purchases made
      after the bankruptcy case was filed if
      obtaining the trustee's prior approval of                 This information is only a general
      incurring the debt was practicable but was                summary of the bankruptcy discharge;
      not obtained;                                             some exceptions exist. Because the law
                                                                is complicated, you should consult an
                                                                attorney to determine the exact effect of
                                                                the discharge in this case.


                                                                This Bankrutcy Discharge is an important
                                                                document that you should retain in the
                                                                event a copy is needed in the future. If
                                                                you request a copy from the Clerk's Office
                                                                at a later date you will be required to pay
                                                                a fee.




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